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 8                             UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                Case No.: 14-CR-1288-DMS
11                Plaintiff,                  DECLARATION OF SUPERVISORY
                                              SPECIAL AGENT KATIE HARDING IN
12         v.                                 SUPPORT OF THE UNITED STATES’
                                              SENTENCING MEMORANDUM
13   RANDY ALTON GRAVES (1),
14                Defendants.
15
16
17
18 I, Katie Harding, declare as follows:
19
20        1.    I am a Special Agent with the Federal Bureau of Investigation (FBI) and have

21 been so employed since June 2004. I am currently assigned to the San Diego Field Division
22 working as the Supervisory Special Agent (SSA) of the San Diego East County Regional
23 Gang Task Force (ECRGTF) in El Cajon, California. My duties include the supervision
24 of approximately six FBI Special Agents, three FBI support staff, and 10 federally
25 deputized Task Force Officers during the investigation and apprehension of individuals
26 involved in violent gang-related activities as well as drug trafficking and distribution. I
27                                              1                                14-CR-1288-DMS

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   1 provide mentoring and leadership to members of the task force to include approving all
   2   administrative     documents and overseeing operations             such as surveillances   and warrant
   3   service. Prior to my current role, I was a Special Agent assigned to the ECRGTF and the
   4 Violent Crime Task Force-Gang Group, as well as an SSA for the Safe Streets and Gang
   5 Unit at FBI Headquarters. Prior to joining the FBI, I was employed as a Forensic Scientist
   6 with the Oregon State Police.            In that position, I processed crime scenes and examined
   7 evidence.
   8          2.        As a FBI Special Agent and Supervisory Special Agent, I have participated in
   9 over 100 arrests for narcotics-related       and gang-related offenses. I have participated in over
  10 20 investigations        that involved    various investigative       techniques,   such as undercover
  11 operations, the use of confidential informants, the purchase of controlled substances, the
  12 execution of search warrants, surveillance in connection with narcotic investigations,                 and
  13 the interview         of confidential    sources.   Through    training     and participation     in these
  14 investigations, I have gained insight into the typical makeup and operation of gangs and
  15 drug trafficking organizations and the various methods these organizations use to carry out
  16 their violent crime and drug trafficking activities.

  17          3.        I have participated in several investigations into San Diego-area street gangs.
  18 I was the co-case agent on two investigations that led to the arrest and prosecution of nearly
  19   100 Mexican Mafia members,              associates,   and soldiers.      These investigations     led to
  20   numerous charges being filed, including racketeering                 (with predicate   acts of murder,
  21   attempted murder, and robbery), extortion, drug trafficking, and various firearms offenses.
  22   We employed a variety of investigative techniques in these investigations, including Title-
  23   III interceptions     of wire communications,         consensual     monitoring   of communications,
  24   undercover operations, and confidential informants.             I have interviewed dozens of gang
  25   members and associates from Hispanic gangs such as Mexican Mafia and black gangs such
  26   as the West Coast Crips (WCC). Through the course of these investigations, I have gained
  27                                                         2                                    14-CR-1288-DMS


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   1 substantial knowledge of the internal rules and operating codes that govern San Diego
   2 gangs as well as the investigative techniques necessary to investigate them successfully.
   3         4.     This declaration   is being submitted for the limited purpose of establishing
   4 defendant Randy Grave's involvement in the murder of Paris Hill on March 1,2014. Ihave
   5 not set forth each and every fact learned during the course of this investigation.

   6         5.     I served as one of a team of four case agents in Case No. 14-cr-1288-DMS,
   7 United States v. Randy Alton Graves et. aI., and in that capacity Iam familiar with the facts
   8 of this case. As a case agent for the investigation, I listened to thousands of phone calls by
   9 and between members of the West Coast Crips street gang.

  10         6.     Based on my review of thousands of intercepted calls by        wee members       and
  11 interviews with current and former          wec   members (including interviews by other law
  12   enforcement officers who have passed their information on to me), among other things, I
  13 know that in 2013 and 2014, Randy Graves occupied a leadership role in the          wec       gang.   1


  14 As such, Graves supplied other         wce     members with narcotics     and firearms,    and he
  15 enforced     wee     rules. Graves specifically   enforced the   wee    rule against any      wee
  16 member cooperating with law enforcement. Graves frequently spoke about this to other
  17   wee members      and associates. As explained further below, Graves spoke about Paris Hill's
  18 cooperation with law enforcement, and Graves specifically approved Paris Hill's murder
  19 moments prior to the murder, as evidenced by          wee member    Terry Hollins' statement that
  20   prior to murdering Hill he received Grave's approval.
  21         7.     The    wee    is extremely    hostile to any   wee    member    or associate     who
  22   cooperates with law enforcement.     For example, in the fall of 2013, the    wce   committed

  23
  24
  25   1My review of phone calls associated with this investigation, along with interviews and
       observations in court, also provides a basis for identifying the participants in the calls and
  26   conversations referenced thorough this affidavit.
                                                       3
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   1 several acts of violence      motivated,    in part, over perceptions    that the victims     were
   2 cooperating with law enforcement authorities.
   3         8.     Similar to other street gangs, the    wee   operates according to a code or set of
   4 rules that regulates intra-gang violence.       One of those rules is for its members not to
   5 cooperate with law enforcement authorities.          wee   members can be killed if cooperation
   6 is proven and approved by senior       wee members.     The   wee   rules generally prohibit one
   7   wee    member from killing another member except with approval of a senior                 wee
   8 member, an "OG," upon a showing of credible evidence of cooperation.             The documentary
   9 evidence is often referred to as "paperwork."
  10         9.     Within a gang, there is a difference between seeing documentation        of another
  11   gang member's cooperation and being able to provide "paperwork" to other gang members
  12 to prove that cooperation.     There is also a difference between one gang member seeing
  13   documentation and an entire group of gang members repeatedly seeing the documents.             It
  14   is much easier for a group of gang members to convince the gang a person is cooperating
  15 than for a single gang member to do so.
  16          10.   Through my experience investigating gangs, I know it is essential for any gang
  17 with incarcerated members to be able to communicate           gang business with members and
  18   associates still in the community.
  19          11.   Monitoring in-custody gang members'         phone conversations    is one way law
  20   enforcement officers attempt to monitor a gang's communications       between gang members,
  21   but for a number of reasons, monitoring phone conversations is a limited investigative tool.
  22   First, inmates can, and frequently do, disguise their communications       by borrowing from
  23   other inmates the phone identification numbers that jails use to keep track of inmate phone
  24   calls. Second, inmates frequently use coded language to disguise their communications.
  25   Third, even if law enforcement is able to track an inmate's phone calls and decipher the
  26   code, it can be very time-consuming      to distill the relevant information from many phone
                                                      4
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   1 calls and, if law enforcement     is trying to identify a threat they believe to be imminent,
   2   listening to recorded phone calls is often inadequate to address the threat. Finally, another
   3 method that inmates use to subvert jail phone-call monitoring is the use of three-way calls
   4 to avoid jail-officials identifying the callers.
   5         12.    An example of the WCC rules against cooperation with law enforcement is
   6 provided by Terry Hollins' interactions with Randy Graves between February 7, 2014, and
   7 early March 2014.      As background,     in October 2013, WCC member Jeffrey Rees was
   8   stabbed and killed in a fight orchestrated by WCC member and co-defendant Wilbert Ross.
   9 WCC member Paris Hill was present at the scene and provided statements to police. Ross
  10 was charged with murder.          In January 2014, the District Attorney's       office released
  11   discovery containing Hill's    statements to Ross (through his attorney),       who was then
  12   detained in county jail. News of Hill's perceived cooperation with law enforcement spread
  13   quickly from the county jail to WCC members outside of the jail.
  14         13.    On February 7, 2014, Hollins sent Graves a text message requesting an urgent
  15 meeting. Graves described their meeting to co-defendant Solcamire Castro-Hernandez             on
  16 an intercepted phone call a few hours later. Graves said his "young general [Hollins]"2
  17 was seeking advice about a gang member who was cooperating with law enforcement.
  18   Graves said, "[personsp      is facing life sentences and everything ...      they don't think
  19 muthafucka know, this [person] don't think a muthafucka             know he done did this shit."
  20   Castro-Hernandez     asked    Graves   if they       had   "paperwork"   [documents   showing

  21
  22

  23, 2      Based on the context and timing of the conversation, among other things, I believe
  24   that Graves was referring to Hollins.

  25   3     For purposes of this declaration, the generic term "person" is substituted for Graves'
  26   (and others) use of a more racially charged term carrying similar meaning.
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   1 cooperation].4     Graves affirmed and said, "somebody          say he thinking he [the suspected
   2   snitch] might be still working [serving as a confidential informant]."       Graves said that he
   3 told Hollins: "I don't object ... whatever you all feel you all need to do ... handle it ...
   4   it's not like, not an order ... [it is] in violation and violations get dealt with. Period."
   5          14.    Agents immediately began investigating the identity of the person at issue in
   6 that February 7, 2014, call. Within approximately         10 days, my team had formed a theory
   7 the person at issue was Paris Hill. That theory was based on intercepted calls referencing
   8 the suspected cooperator's      association with   wee   associate, and co-defendant,     Gaqualya
   9 Lagrone. Agents were aware Lagrone was in a relationship with Paris Hill, and they soon
  10 became aware Paris Hill was one of the witnesses in Ross's murder case whose statements
  11 to law enforcement were disclosed in discovery for that case. Hill had ceased contact with
  12 his probation officer and law enforcement officers and agents were unsuccessful in locating
  13 Hill to warn him.
  14          15.    Intercepted calls indicate that approximately     one week prior to Hill's murder,
  15   Graves counseled Hollins and approved the murder.             On February 22, 2014, during an
  16   intercepted call, Graves told Lagrone that Hollins was getting stressed about the suspected
  17   cooperator.    Graves said that those who speak to law enforcement must be killed:              "if
  18 mother fuckers been telling, they gotta go ... I don't give a fuck ifits Kiki [a wee member
  19 who was shot multiple times by another        wee member      in December 2013] or whoever the

  20
  21
       4      My interpretations of coded phrases are set forth throughout this declaration in
  22   brackets. Those interpretations are based on, among other things, my experience as an FBI
  23   agent and supervisory agent, as set forth above.
              Grave's reference to Hollins as "his young general" reflects Grave's belief that he,
  24   Graves, held authority over other wee members. Throughout the investigation Graves
  25   spoke with the belief that his directives would be obeyed. Other gang members who were
  26   intercepted also acted with deference to Graves.
                                                        6
  27                                                                                       14-CR-1288-DMS

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   1 fuck with the rest of them [persons] that's supposed to be on paperwork [government
   2 documents showing cooperation] ... they gotta go [be killed], period."
   3         16.    Paris Hill was shot in the head early in the morning of March 1, 2014, in front
   4 of a night club, the Common Grounds, in San Diego, California. Police found Hill's body
   5 lying on the sidewalk near the comer of 47th street and Federal Boulevard, a short walk
   6 and slightly down-hill from the gate of the Commons Grounds.
   7         17.    Intercepted phone calls indicate Hollins, Graves, J ermaine Cook and Donald
   8 Bandy were present at the Common Grounds immediately prior to Hill's murder.
   9         18.    On March 1, 2014, several hours after Hill was murdered, Graves was
  10   intercepted speaking to Castro-Hernandez reflecting on how several gang members were
  11   upset at Hill's murder because "[t]hey don't feel that [persons] got all the paperwork
  12   [documents showing cooperation] and they [are] mad because they said them [persons]
  13 moved only because of cuz [a fellow       wec gang member] word and all this." Graves
  14   explained that if you are a gang member and you see "paperwork" on somebody you need
  15 to "handle you[r] business." Graves went on to explain what he meant by that:

  16
             If you got reputable [persons] that [are] in place to see this and they said it's
  17         a foul ball and it's a green light [gang authorization to kill someone] or blue
  18         light [the Crip translation for a "green light"] ... should a mother fucker wait
             until after he go through the damage and testify on a mother fucker and give
  19         a mother fucker a life sentence or some more shit or should a mother fucker
  20         handle the business and prevent a mother fucker from doing it [by killing the
             cooperating witness.]
  21
  22   Graves further stated:
  23
             [Persons], this [violent acts against cooperators] is your job [a gang member's
  24         duty and expectation]. . . that's why shit be happening and shit get loose
  25
             because some of these [persons] don't want to get up and do what they
             supposed to be doing when they supposed to do it. They getting lazy . . .
  26
                                                     7
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              [Person] when duty calls, [person] sometimes you got to step aside cuz you
   1
              might save a life [person].
   2
              19.      On March 3, 2014, Graves and Cook were intercepted discussing a young
   3
       male who was present at the party, got drunk, and took his shirt off wanting to start a fight.
   4
       Graves said he was concerned because that person left his shirt at the scene and the police
   5
       could identify that person through the DNA on the shirt, with the inference that the person
   6
       would then identify others who were present. Graves told Cook to tell that person to "watch
   7
       his fucking mouth."      Cook said, "ok, for sure, I'm going to deal with that right now."
   8
       Graves added, "Aight, everything else covered but yeah cover that one. Get up on that one
   9
       immediately."
  10
              20.      Also on March 3, 2014, Hollins' pre-trial release was revoked and he was
  11   arrested.
  12
              21.      On March 4, 2014, Cook informed Graves that Hollins had been arrested and
  13
       that officers had searched Hollins' house. When Cook began to speak about a new subject,
  14
       Graves cut him off and suggested they meet in person.          Agents observed Cook meet with
  15
       Graves on a pole camera.
  16          22.      Graves spoke to Bandy following his meeting with Cook. Graves referenced
  17
       the individual who left his shirt at the party. Bandy said he knew the person Graves had in
  18 mind and said he had not yet been able to reach him, but would "holler" at him when he
  19
     found him. Graves then asked if Bandy had spoken with "Trey-O" [Cook] about a separate
  20   matter that Graves and Cook had discussed.           Bandy affirmed.    Graves told Bandy to "get
  21
       on it" as soon as possible.
  22          23.      On March 5, 2014, Graves told co-defendant             Cleotha Young the District
  23
       Attorney had confirmed in open court people were "on paper," cooperating                 with law
  24   enforcement.     Graves said, "its official ... [persons] is tellin [talking to law enforcement]
  25 ... they on paper, they done made statements, [person], its official mother fuckers can't
  26
                                                        8
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   1 say nothing about whatever happened to whoever ... everyone know it now." Graves also
   2   said that, as a result, the WCC would no longer wait until after someone testified:
   3   "Witnesses gotta go [be eliminated] now!" Graves explained that gang members had the
   4 "paperwork" but could not pass it out because the distribution of such paperwork would be
   5 used as evidence against them. Instead, they showed it to fellow gang members.             Graves
   6   said that "BK and them ...     [other WCC members] seen it [paperwork],"       and their word
   7 was sufficient to make it "official."
   8         24.      I interpret Graves' statement "BK and them [persons] seen it" to reference
   9 Graves receiving confirmation       of Hill's cooperation    from his cousin, co-defendant    and
  10   fellow WCC member Darnell Butler, who was then detained along with Hollins in the
  11   George Bailey Detention Center. I understand Graves to be saying that Wilbert Ross had
  12   shared with fellow WCC gang members, including Butler, the discovery showing Paris
  13 Hill had provided statements to law enforcement.            Butler, in tum, communicated     with
  14   Graves he had seen the documentation,     which was sufficient for Graves.
  15         25.      Graves then went on to add: "they can't get this (U/I) cause he's talking about
  16 killing that bitch [DF]." "DF" was Terry Hollin's then girlfriend. Video from a nearby
  17   convenience store showed Hollins and Hill together in DF's vehicle the same evening that
  18 Hill was murdered. Cook and Bandy were also with them.
  19         26.      The threat to DF, introduced in the March 5, 2014, call, was further explained
  20   in a March 13,2014, intercepted call between Graves and co-defendant Brenda Rodriguez.
  21   Graves said:
  22         I swear to God, you can ask that [person] Trey-O [Cook] what I told em, I said
  23         [person] we'll have to do [kill] the bitch [DF] ... the bitch [DF] probably told
             them [law enforcement authorities] the whole plot [what happened the night
  24
             of Hill' s murder] ... if it was my call to make, I'd snatch that bitch [DF] and
  25         have that bitch [DF] tied up some mother fucking where ... next time you all
             see this bitch [DF], it'll be in a body bag.
  26
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   1         27.     Graves   provided   specific   details that identified   DF as the target,    and
   2   concluded that because DF was probably in protective          custody and out of reach, they
   3 needed to go after DF's family. In particular, Graves stated:

   4
             (UII) fuck how big the family is and what they going to do, ... we gonna
   5         knock [kill] as many of you mother fuckers off until that time comes ... we
             lose 2-3 homies, 2-3 mother fuckers in your family got to go ... you run your
   6
             mouth, you die, period ....
   7         28.     Upon hearing this call, myself and other investigators believed the    wee    was
   8 planning the murder of DF and her family. Further, because Hollins was then detained in
   9 the George Bailey Detention Center (GBDF), I believed the topic of DF and her family
  10 was likely the subject of discussion by Hollins and other wee members detained in that
  11 jail. I know DF was close to Hollins and it would be unlikely for the wee to act on DF
  12 without some input from Hollins. Law enforcement located and warned DF. DF was

  13 ultimately not harmed.
  14        29.   Thus, by mid-March 2014, I was aware the wee had killed Paris Hill because
  15 of his cooperation with law enforcement and was actively planning the murder of DF.
  16 Moreover, I and the other investigators involved in the case had reason to believe the plot

  17 to murder Paris Hill and, to a certain extent, the conspiracy to murder DF had originated
  18 through discussions by wee members who were then detained within the GBDF.
  19 Throughout this time, I had regular discussions with local law enforcement officers who

  20   were conducting a parallel investigation.
  21         30.     On March 18, 2014, at the request of detectives with the San Diego Police
  22   Department,   San Diego Sheriffs      Deputies    installed a recording   device in a jail cell
  23   occupied by   wee   members Hollins, Marcus Foreman, and Darnell Butler.
  24
  25
  26
                                                        10
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   1         31.    The recording device installed in their shared cell on March 18, 2014, ran for
   2   approximately     72 hours.   Over the course of the recording,     Hollins   made several
   3 statements.5 These statements include:
   4                I.      Excerpt No. 1
   5         Foreman:       So where was he [Paris Hill] 6 laying anyway?
   6         Hollins:       You know, where you come out the gate?
             Foreman:       The front gate or the back gate?
   7
             Hollins:       The back gate, probably about ten or fifteen feet.
   8         Foreman:       To the left or right?
             Hollins:       To the right.
   9
             Foreman:       Oh, so the way to the street?
  10         Hollins:       Nah man, going down towards the mother fucking police station.
  11         Foreman:       Oh out front gate? Oh, I thought the front gate was the one on
                            the sidewalk.
  12         Hollins:       Yeah.
  13         Foreman:       The back gate (U/I) the trail.
             Hollins:       Ok well yeah .... like ten feet.
  14         Foreman:       Oh so whoever was parked down that way couldn't see
  15                        regardless ... so whoever was parked up to (UII).

  16                        Not when you walk down .... We were on the sidewalk walking
             Hollins:
  17                        down ....
             Foreman:       Did anybody make a scene? Like, nobody? No bitches? No
  18
                            nothing?
  19         Hollins:        It's West Coast ... it's political. ...
             Butler:         On the set ...
  20
             Foreman:       It's Southeast!
  21         Hollins:       That shit showed me homie.
  22
  23
       5      The quoted excerpts are based on my best effort to describe what I heard on the
  24   recording, which is at times difficult to decipher due to background noise.
  25
       6      Given the context of the conversations, I believe Hollins, Butler, and Foreman
  26   discussed the events surrounding the murder of Paris Hill.
                                                    11
  27                                                                                  14-CR-1288-DMS

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            Foreman:     If a [person] go through channels, you get your ass knocked
    1
                         down (laughing loudly) ...
   2        Hollins:     If you go through the proper steps ...
   3        Foreman:     You get your ass knocked down.
            Unknown:     It's vicious .
   4        Hollins:     (U/I) 911     no running ... we came back ... dancing.
   5
   6        32.   This excerpt describes the exact location of Paris Hill's murder. Paris Hill's
   7 body was found a short distance from the rear gate of the Common Grounds night club.
   8 There is an SDPD office a short distance away, in the same direction. I believe Foreman's
   9 comment that if a person goes "through channels, you get your ass knocked down" and
  10 Hollin's echoing, "if you go through the proper steps" is a reference to seeking, and
  11 receiving, approval to murder Paris Hill.

  12              II.    Excerpt No.2
  13
            Hollins:    You know me, I know the political stand point. I went back to
  14                     Sweets [Graves], let me holla at you ... Sweets [Graves] is
  15                    looking at me like this, you know what I mean.
            Foreman:    You already talked about it. Stop talking. Get to it.
  16
            Hollins:    Nah, not stop talking but he was just like ....
  17        Foreman:    It's blue [referring to Crip authorization to kill a person] it's blue
                        little homie.
  18
            Hollins:    It's (U/I) possible to hit him right now. You know what I mean.
  19                    And like Sweets [Graves] and Crazy Mike [not yet identified]
  20                    was standing right here, right. And we walked in, Crazy Mike
                        just looked at me and looking at me like ....
  21        Foreman:    With that grin?
  22        Hollins:    Crip cuz. Look, I felt good, I was like, you know what I mean
                         [person]. Because I've been getting a different response from
  23                    Mike and them, Kee, like, ever since that like G-homies [senior
  24                    gang members] that been knowing are always be cracking (U/I)
                        but when that happened I've been getting nods, like, from the
  25                     [persons] that I want to get the nods from.
  26
  27                                               12                                  14-CR-1288-DMS

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   1         33.    I believe this excerpt is a specific reference by Hollins to receiving Grave's
   2   approval to murder Paris Hill. I know for a Crip the color blue has symbolic significance.
   3   When Hollins describes Grave's approval to Foreman as "looking at me like this, you know
   4 what I mean" Foreman begins to answer, "it's blue little homie," which signifies Grave's
   5   approval. A "blue light" for a Crip gang member is an authorization           to kill a person,
   6 borrowing     from the phrase "green light" used within the           Mexican     Mafia. Hollins
   7 corroborates this interpretation     when he responds to Foreman's     interpretation     of Grave's
   8 nod of approval: "It's possible to hit him right now you know what I mean." Based on this
   9   exchange, I believe Grave's specifically approved Hollin's decision to murder Paris Hill
  10   immediately prior to the murder.

  11
                    Ill.   Excerpt No.3
  12
             Hollins:      (U/I) cooperation, homie ... this ain't that heartless.
  13
             Butler:       He's a homie, [person]. He just didn't know what you was doing
  14                       and he fucks it up. Point blank period. He fucked up.
  15         Foreman:      He knew what he was doing ....
             Hollins:      When it was time it's still being like, I seen it all in his face ...
  16                       That little [person] is gangsta though. He knew that ... it was his
  17                       doing to do that to him. The whole time, you could just see it
                           looked like he was (UII) crying.
  18         Butler:       Like (U/I).
  19         Hollins:      On Crip [person].
             Butler:       I am my brother's keeper. You think you can run, G.
  20                       I didn't want to look at him. You know what I mean. (U/I) I did
             Hollins:
  21                       it though. Cuz was looking at me like ... when we left that gate,
                           and went down that hill a little bit and we got to talking a little
  22
                           bit, he was standing there just looking at me .... Love him you
  23                       know, still love him till today. Still love him. Still my [person].
                           Still gonna look out for your kids[7] ... all that. On Threes [the
  24
  25
  26   7
             In March 2014, Hill was a father.
                                                     13                                      14-CR-1288-DMS
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   1                      3-Babiez clique], I got him. Still ...like come on Kee, but you
                          fucked up homie.You fucked up ...like you was wrong!
   2
             34.    I believe that in this excerpt Hollins justifies his murder of a fellow gang
   3
       member by reference to the WCC unyielding rule that cooperators must be killed.Rollin's
   4
       states the murder was not heartless, it was required by the WCC code to not tolerate any
       cooperation with law enforcement.Butler echoes that sentiment: "[p]oint blank period, he
       fucked up." And Foreman finishes the thought, "[h]e knew what he was doing." I believe
       Hollins, Foreman, and Butler were each reciting a code revered by wee leaders, such as
       Graves, who not only recite the code generally but, in this case, specifically counselled and
   9 directed Hollins to apply it to Paris Hill. I further believe in the moments prior to Paris
  10
     Hill's murder Graves provided the approval necessary for Hollins, Cook, and Bandy to
  11
       carry out the murder without fear of reprisal from other wee members.
  12
  13
             I declare under penalty of perjury that the foregoing is true and correct to the best of
  14
       my knowledge.
  15
                        14 2022
             DATED: July_,
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  18
                                                            KATIEfIARDIOO
                                                            Supervisory Special Agent, FBI
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